Case 1:03-cV-01229-.]DB-tmp Document 35 Filed 07/01/05 Page 1 of 5 Page|D 66

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UNITED sTATEs DISTRICT COURT m _ "---~`_ jjij
WESTERN DISTRICT oF TENNESSEE t'.’ ., , h `
EASTERN Dlvlsl_oN ‘

CORNELIUS MADDOX,

 

Plaintiff,
vs. Civil Action No.: 1:03-1229- B/P

CORRECTIONS CORPORATION
OF AMERICA, et al.,

`_¢\_4\_/\/\_/\_/\-/\-/\_¥\-/

Defendants.

 

AGREED ORDER OF I)ISl\/IISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, With full prejudice, the
Court therefore finds that this cause should be dismissed, With full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGEI) AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, Inc., Correctional
Managernent Services Corporation, Prison Realty Management, lnc., and Prison
Managernent Services, Inc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, Will be applied for or awarded by

either party.

with sure ss and/errs (a) FacP on Q? - 05 ` 05

This document entered on the docket sheet in compliance @

Case 1:03-cV-01229-.]DB-tmp Document 35 Filed 07/01/05 Page 2 of 5 Page|D 67

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Dated: this j dayof G-y ,2005.

J. DANIEL BREE§
UNI ED sTATEs DISTRICT JUDGE

 

APPROVED FOR ENTRY:

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Case 1:03-cV-01229-.]DB-tmp Document 35 Filed 07/01/05 Page 3 of 5 Page|D 68

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dil]ard, P.C., P.O. Box 1126,
Knoxville, TN 37901»1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, sc 29201 on June ZL, 2005_

PENTECOST, GLENN & RUDD, PLLC

By: %MWMAJJ\~/ iii

J ames I. Pentecost (#01 1640) , _
Brandon O. Gibson (#21485) "`
Attorneys for Defendants -- §

 

F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:03-CV-01229 Was distributed by faX, mail, or direct printing on
.1 uly 5, 2005 to the parties listed.

 

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Case 1:03-cV-01229-.]DB-tmp Document 35 Filed 07/01/05 Page 5 of 5 Page|D 70

Honorable .1. Breen
US DISTRICT COURT

